                        Case 5:19-cr-00315-PRW Document 6 Filed 10/17/19 Page 1 of 3
AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                                   Page 1 of 3 Pages


                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                           Western District of Oklahoma


                    United States of America                             )
                               v.                                        )
                                                                         )      Case No. CR-19-315-PRW
                      Shaun Laron Russell Jr                             )
                              Defendant                                  )
                                          ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant's release is subject to these conditions:

  (IZI)   (1) The defendant must not violate federal, state, or local law while on release.

  (IZI)   (2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

  (IZI)   (3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making any change
              of residence or telephone number.

  (IZI)   (4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that the
              court may impose.

          The defendant must appear at:                                                   as directed
                                                                                             Place


          on
                                                                         Date and Time

          If blank, defendant will be notified of next appearance.

  (�)     (5) The defendant must sign an Appearance Bond, if ordered.
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AO 199B (Rev. 12/11) Additional Conditions of Release                                                                                          Page 2 of3 Pages
                                                  ADDITIONAL CONDITIONS OF RELEASE
       IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below;
(□)     (6)   The defendant is placed in the custody of:
              Person or organization
              Address (only ifabove is an organixition)
              City and state                                                                                       Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                          Signed;
                                                                                                       Custodian                                   Date

(13)    (7)   The defendant must;
       (13)   (a) submit to supervision by and report for supervision to;        USPO Candice Jones
                  telephone number (405) 609-5849          , no later than       noon the following business day.
       (□)    (b) continue or actively seek employment.
       (□)    (c) continue or start an education program.
       (□)    (d) surrender any U.S. passport, foreign passport, and/or other documents used for international travel to; the U.S. Probation Office,
                    Westem District of Oklahoma, no later than noon the following business day.
       (□)    (e) not obtain a passport or other international travel document.
       (□)    (f) abide by the following restrictions on personal association, residence, or travel; travel restricted to the Westem District of Oklahoma,
                    unless pre-approved by USPO.
       (□)    (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                    including:

       (□)    (h) get medical or psychiatric treatment;            as directed by USPO.

       (□)    (i) return to custody each                      at            o'clock after being released at                   o'clock for employment, schooling.
                  or the following purposes;
       (□)    (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                    necessary.
       (13)   (k) not possess a firearm, destructive device, or other weapon.
       (3)     (1) not use alcohol (□) at all (KI) excessively.
       (3)    (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                    medical practitioner.
       (3)    (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                  random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                  prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and
                    accuracy of prohibited substance screening or testing.
       (□)    (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                  supervising officer.
       (□)    (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                    (□)    (i) Curfew. You are restricted to your residence every day (□) from                                 to              , or ( □ ) as
                                 directed by the pretrial services office or supervising officer; or
                    (□)    (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                 activities approved in advance by the pretrial services office or supervising officer; or
                    (□) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                             court appearances or other activities specifically approved by the court.
       (□)    (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                  requirements and instructions provided.
                  (□) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                        supervising officer.
       (3)    (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                    arrests, questioning, or traffic stops.
       (3)    (s) contribute to the cost of treatment service rendered (co-payment) in an amount to be determined by the pretrial services office or
                  supervising officer, based on the defendant's ability to pay.
       (□)    (t) notify all employers of the pending federal charge when employed in a fiduciary capacity and at the direction of the USPO and grant
                    the USPO permission to verify employers' notification.
       (□)    (u)
       (□)    (v)
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AO 199C (Rev. 09/08) Advice of Penalties                                                                                        Page 3 of 3 Pages
                                            ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation
of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in imprisonment,
a fine, or both.
         While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years and
for a federal misdemeanor offense the punishment is an additional prison term ofnot more than one year. This sentence will be consecutive
(i.e., in addition to) to any other sentence you receive,
         It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation; tamper with
a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to intimidate
a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more
serious if they involve a killing or attempted killing.
         If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence, you may be
prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
        (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined not
            more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not more
            than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term ofimprisonment imposed for failure to appear or suuender will be consecutive to any other sentence you receive. In addition,
a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                   Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware ofthe conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware ofthe penalties and sanctions set forth above.




                                                                                          Defendant's Signature



                                                Directions to the United States Marshal

        The defendant is ORDERED released after processing.
 (□)    The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
        has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
        the appropriate judge at the time and place specified.


Date: 10/17/19
                                                                                        Judicial Officer's Signature



                                                                  SHON T. ERWIN, UNITED STATES MAGISTRATE JUDGE
                                                                                          Printed name and title
